
*1034Ordered that the resentence is reversed, on the law, the period of postrelease supervision is vacated, and the original sentence imposed on September 19, 2000, is reinstated.
As the People correctly concede, the imposition of a period of postrelease supervision upon this defendant violated his rights under the Double Jeopardy Clause of the United States Constitution (see US Const Fifth Amend; People v Williams, 14 NY3d 198 [2010]; People v Marquez, 73 AD3d 1212 [2010]). Accordingly, the resentence must be reversed, the period of postrelease supervision vacated, and the original sentence reinstated. Dillon, J.P., Balkin, Chambers and Sgroi, JJ., concur.
